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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BETHANY DITZLER,                             :
                                             :
                   Plaintiff,                :
                                             :
      v.                                     :      NO. 21-CV-1852
                                             :
PINNACLEHEALTH OBSTETRICS                    :      JUDGE CONNER
AND GYNECOLOGY SPECIALISTS,                  :
PINNACLEHEALTH MEDICAL                       :
SERVICES, UPMC PINNACLE                      :
HOSPITALS, UPMC PINNACLE,                    :
BEVERLY A. HALL NDLOVU,                      :
and LEE BLECHER,                             :
                                             :
                   Defendants.               :      ELECTRONICALLY FILED

       JOINT MOTION FOR ENTRY OF CONFIDENTIALITY AND
                     PROTECTIVE ORDER

      Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Parties, by

and through their respective counsel, hereby jointly move for entry of a

Confidentiality and Protective Order. In support of this Joint Motion, the parties

submit the attached proposed Confidentiality and Protective Order.

                                             Respectfully submitted,

                                             /s/ Frank J. Brier
Myers, Brier & Kelly, LLP                    Frank J. Brier
425 Biden Street, Suite 200
Scranton, PA 18503
(570) 342-6100

Dated: May 4, 2023
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       CERTIFICATE OF CONCURRENCE/NON CONCURRENCE

      I, Frank J. Brier, hereby certify that I sought concurrence from all counsel of

record. All counsel concur in this Joint Motion.



                                             /s/ Frank J. Brier



Date: May 4, 2023
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                         CERTIFICATE OF SERVICE

      I, Frank J. Brier, hereby certify that a true and correct copy of the foregoing

Joint Motion was served upon the following counsel of record via the Court’s ECF

system on this 4th day of May 2023:

                             Thomas F. Sacchetta, Esquire
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                                              /s/ Frank J. Brier
                                              Frank J. Brier
